                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                           3:18-CR-00099-RJC-DCK
USA                                         )
                                            )
    v.                                      )               ORDER
                                            )
GARLIN RAYMOND FARRIS                       )
                                            )

         THIS MATTER is before the Court on the defendant’s pro se Motion for

Preservation of Evidence. (Doc. No. 142).

         In the motion, the defendant seeks entry of an order directing the

government to preserve any evidence or other information relating in any way to his

case until he has had the opportunity to inspect such records. (Id. at 1-2). Local

Criminal Rule 55-2 and Local Civil Rule 79.1 govern the custody and disposition of

trial evidence. The defendant has not shown any legal authority to require

expanded preservation while he pursues post-conviction relief under 28 U.S.C. §

2255.

         IT IS, THEREFORE, ORDERED that the Motion for Preservation of

Evidence, (Doc. No. 142), is DENIED.

 Signed: December 2, 2021




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